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                         THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,                          CIVIL ACTION NO. 6:20-cv-01102-ADA
        v.

 EAGLE EYE NETWORKS, INC.,

                Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “RBDS”) files

this Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer.

        Accordingly, under Federal Rule of Civil Procedure 41(a)(1)(a)(i), Rothschild Broadcast

Distribution Systems, LLC hereby dismisses all claims by and between the parties with prejudice,

with each party bearing its own attorneys’ fees and costs.




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Dated: May 11, 2021                                  Respectfully submitted,

                                                     /s/ Jay Johnson
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                                                     ATTORNEYS FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

        I hereby certify that on May 11, 2021, I electronically filed the above document(s) with the
Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to all
registered counsel.

                                                     Respectfully submitted,

                                                     /s/ Jay Johnson
                                                     JAY JOHNSON




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